
Desmond, J. (dissenting).
I agree with Judge Burke for affirmance.
The prosecution unquestionably made a prima facie showing of guilt and we are powerless (as in all noncapital criminal appeals) to review the facts. As to the absence of corroboration of the prosecutrix, I refer to my dissenting opinion in People v. Oyola (6 N Y 2d 259, 268, decided herewith).
Chief Judge Conway and Judge Froessel concur with Judge Van Voorhis; Judge Fuld concurs in a separate opinion; Judge Burke dissents in an opinion in which Judge Dye concurs and in which Judge Desmond concurs in a separate opinion.
Judgment reversed, etc.
